92 F.3d 1177
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ray Anthony DORSEY, Petitioner-Appellant,v.William L. SMITH, Warden;  Attorney General of The State ofMaryland, Respondents-Appellees.
    No. 96-6290.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 23, 1996.Decided:  August 6, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  William M. Nickerson, District Judge.  (CA-94-2662-WMN)
      Clarence Freeman Stanback, Jr., Arlington, VA, for Appellant.  Ann Norman Bosse, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, MD, for Appellees.
      D.Md.
      APPEAL DISMISSED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  The district court entered its order on August 31, 1995;  Appellant's notice of appeal was filed on February 2, 1996.  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    